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DISTRICT OF DELAWARE
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      23-11131

      Amyris, Inc.




      Case Type :                       bk
      Case Number :                     23-11131
      Case Title :                      Amyris, Inc.
      Judge :                           Thomas M. Horan
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